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 7
 8                             UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        Case No. 2:09-cr-00421-GEB
12                Plaintiff,
                                                      [PROPOSED] ORDER TO
13         v.                                         EXONERATE PROPERTY BOND
14   VI TRUONG,
15              Defendant.
     _____________________________/
16
17
           Upon application of defendant Vi Truong, and good cause appearing therefore,
18
           IT IS HEREBY ORDERED that the property used to secure defendant Vi Truong’s
19
     bond with 8 deeds of trust, shall be released and exonerated. The deeds of trust shall be
20
     returned to its owner. The property bond in the amount of $500,000 is hereby exonerated.
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     The property shall be reconveyed.
22
23   Dated: June 12, 2013

24
25                                         GARLAND E. BURRELL, JR.
26                                         Senior United States District
                                           Judge
27
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